                     Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 1 of 12 PageID #:1
                                                                                                                                                 ''Cb
Ito   Se 7 (Rev. 12116) Complarnt t'or   hmployment Discnmination                                       R.ffi#ffifixu'HD
                                                                                                                   Aiiil 11 [*17 ry/,
                                             UlursD           STATES         DrsrRrcr Counr
                                                                          for the                             THOMA$ G. I;RUTON
                                                                                                            CLEHK, U.S. DiIJTITiCT COURT
                                                               Northern District of Illinois

                                                                    Eastsrn Division

                                                                                        17-cv{5899
                                                                                    su, Judge Rebecca R. Pallmeyer
                                                                                        tagistrate Judge Young B. Kim
                          Frank L. Simmons
                                 Plaintiff(s)
(Write the full name af each plaintiffwho is filing this complaint.
If the names of all the plaintiffs cannotfit in the space above,
please write "see attached" in the space and attach an additional
                                                                                    JuryTriat: (checkone)   fi Yes f]     No
page wiih the fuli liti of names.)
                                     -Y-

       Illinois Bell Telephone Company alHq AT&T
                           Randy Renschen
                              See Attached
                            Defendant(si
(Write the full name of each defendant who is being sued. If the
names ofall the defendants cannot fit in the space above, please
write "see attached" in the space and anach an additional page
with thefull list ofnames.)



                                 COMPLAINT FOR EMPLOYMENT DISCRIMINATION

L            The Parties to This Complaint
            A.          The Plaintiff(s)

                        Provide the infbrmation below tbr each plaintifl named rn the complaint. Attach additional pages           if
                        needed.

                                   Name                                Frank L. Simmons
                                   Sreet Address                       74W.l5n      Street
                                   City and CounW                      Chicago Heights
                                   State and Zip Code                  Illinois 60411
                                   Telephone Nurnber                   312 919-9320
                                   E-mail Address                      fu ank.3332@hotnail.com




                                                                                                                                 Page   1   of   8
                   Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 2 of 12 PageID #:2

Pro Se 7 (Rev. 12116) Complarnt tbr bmployment lliscrimination


          B.         The Defendan(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a govemment agency, an organizatiorq or a corporation. For an individual defendant,
                     include the person's job or n$e 6f known). Attach a<iditional pages if needed.


                     Defendant No. I
                                Name                               Illinois Bell Telephone Company alHu AT&T
                                          (ifknown)
                                Job or Title                       Corporation
                                Street Address                     225 W. Randolph Street
                                City and County                    Chicago - Cook
                                State and  Code
                                            Zip                    Illinois 60602
                                Telephone Number                   800 257-0902
                                E-mail Address (ifknown)


                     Defendant No. 2
                                Name                               Randy Renschen
                                          (iflcnown)
                                Job or Title                       AT&T Construction and Desipn Engineerine Area Manager
                                Street Address                     225 W. Randolph Street
                                CiW and County                     Chicago - Cook
                                State and  Code
                                             Zip                   Illinois 60602
                                Telephone Number                   800 257-0902
                                E-mail Address       (rf lcnown)



                     Defendant No. 3
                                Name                               Ann Barton
                                Job or Title (if known)            AT&T Court Order Unit
                                Street   Address                   909 Chestnut
                                City and County                    St. Louis
                                State and Zip Code                 MO.   63101
                                Telephone     Number               888722-1787
                                E-mail Address       (i.f known)




                      DefendantNo.4
                                Name                               Cook County Board of Illinois
                                Job or Title (if known)            Countv Government
                                StreetAddress                      118 N. Clark Street
                                City and Courty                    Chicago - Cook
                                State and    Zip   Code            Illinois 60602



                                                                                                                      Page 2   of   8
                   Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 3 of 12 PageID #:3

Pro Se 7 (Rev. l2i 16) Complarnt tbr lrmployment l)iscrimination


                                 Telephone Number                    312 443-5s00
                                 E-mail Address (if known)


                       Place of Employment

                       The address at which I sought employment or was employed by the defendant(s) is


                                 Name                                 Illinois Bell Telephone Company alHa AT&T
                                 Sreet Address                       225W. R.mdolph Street
                                 City and County                     Chicago - Cook
                                 State and    Zip Code               Illinois 64602
                                 Telephone Number                    3t2 727-94t1


IL         Basis for Jurisdiction

           This action is brought for discrimination in employment pursuant to             (check   all that apply):


                   x               Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. $$ 2000e to 2000e-17 (race,
                                       i         I      i: :       i:   I   I I \
                                   L:OlOr,   gcnucr, r'c[grurr, llallouar ongflrr.

                                   (Note: In order to bring suit infederal district court under Title WI, you mustJirst obtain a
                                   Notiee of Right to Sue letterfrom the Equol Emploryent Opportunity Commission.)


                   n               Age Discrimination in Employment Act of 1967, as codified 29 U.S.C. $$ 621 to 634.


                                   (Note: In order to bring suit inJbderal district court ander the Age Discrimination in
                                   EmploymentAct, yau mustfirst/ile a charge with the Equal Employment Opportunity
                                   Commission.)


                   u               Americans with Disabilities Act of 1990, as codified 42 U.S.C. $$ 12112 to          l2ll7.

                                   (Note: In order to bring suit inJbderal disffict court under the Americans with Disabilities
                                   Act, you mustfirst obtain a Notice of Right to Sue letterfrom the Equal Employnent
                                   Opportuni A C ommis s i on. )


                   u               Other federal law (specify the federal law):
                                    Equal Pay Act (EPA); Fair Labor Standards Act (FLSA); Consumcr Crcdit Protcction Act
                                    (ccPA)
                   l               Relevant state law (speafy, if lcnown)'.
                                    Wage Payment and Collection          Act   820 ILCS 115/l-16 and Section 9

                   tr               Relevant city or county law (specify, if lcnown):




                                                                                                                                Page 3   of   8
                   Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 4 of 12 PageID #:4

Pro Se 7 (Rev. 12116) Complarnt tbr lmployment l)iscrimination




           Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as brietly as possible the
          facts showing that each plaintiffis entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiffharm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.         The riiscriminatory conduct of which I compiain in tiris action inciudes                           (check   all that apply):


                             f             Failure to hire me.

                             x             Termination of my employment.

                             x             Failure to promote me.

                              T            Failure to accommodate my disability.

                              X            Unequal terrns and conditions of my employment.

                              l            Retaliation.

                              T            Other acts (spea{y):

                                           Qtlote: Only those grounds raised in the chargefiledwith the Equal Emplowent
                                           Opportunity Commission can be considered by the federal district court under the
                                          fe de ral e mpl oyme nt di s criminati on   s ta   tut e s. )


        B.            It is my best recollection that the alleged discriminatory acts occurred on date(s)
                      June


         C.           I believe that defendant(s)        (check one):

                              X             idare still committing these acts against me.
                              t]            iVare not still committing these acts against me.


         D.           Defendant(s) discriminated against me based on my                (check     all that apply and explain):

                              x             race                        African American
                              T             color
                              f             gender/sex

                              l             religion
                              T             national origin

                              f             age (year ofbirth)                     (only when asserting a claim of age discriminalion.)

                              r             disabiiiry or perceived disabiiity    (speciJy disability)




         E.           The facts of my case are as follows. Attach additional pages                        if   needed



                                                                                                                                                    Page 4   of   8
Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 5 of 12 PageID #:5


 At AT&T the Plaintitf was consistently saddled with workloads 3 to 4 times greater than his Caucasian
 co-workers which he consistently met and exceeded AT&T expectations, generating the company
 millions of dollars in additional revenue. He was the top performing Engineer in the county year after
 year, yet his well deserved vacation time was docked and he was denied raises and promotions within
 the Company. Randy Renschen, his area manager, put him on a performance plan and demanded that he
 design engineer 8-major projects per month (see Performance Plan). His Caucasian co-workers where
 not required to engineer as many major projects. Randy took away the easier projects within the
 Plainti{f s wire-centers of responsibility and gave them to Caucasian etrgineers to assume credit to make
 quotas.
 Randy Renschen consistently resolved the payroll problems for Caucasian subordinates within 48-hours
 or less; yet provided no assistance to the Plaintiffwhen he experienced payroll problems.
 Payroll Problems:
 The Honorabie Cook Counry Circuit Couri judge Mary Trew, on January 29,2A16, granted Plaintiffs
 (Frank Simmons') March 2015 'Petition for Reduction of Child Support'. Judge Trew's court order,
 reducing Mr. Simmons' unlawful monthly child support obligation from $2018.00 per month to $111.73
 bi-weekly or $223.46 per month, was submitted to AT&T in February 2016. Mr. Simmons requested a
 call-back from AT&T's Court Order Unit (ACOU) once they received Judge Trew's officially stamped
 court order. An anonymous ACOU Representative called to inform the Plaintiff thar the reduction could
 not be enforced; bscause, the order mentions oniy he md his formcr spouse, Cook County Circuit Court
 Judge Michele M. Pitnan. The Representative stated that an official Illinois Wage Deduction Order
 (IWO) from the courts, instructing AT&T to make the proper deductions was only required and that
 Judge Trew's court order was unimportant and meant nothing for the reasons given.
 As a result, Mr. Simmons re-petitioned the courts in February 2016 for an IWO; which, was granted and
 officially stamped by Judge Trew in March 2016. Both otders, the IWO Order and original court order
 w-ere submiited together to AT&T's Coiirt Order Unit in these attachments.
 In April 2016, for the payroll period af 031L612016 to 0313112016, Frank Simmons contacted AT&T's
 Court Order Unit to notify them that $517.43 was an incorrect amount to deduct from his by-weekly
 payroll and it should have been just $111.73. The anonymous ACOU Representative who almost
 exclusively handled the Claimant's child-support court orders, called to infonned him that the Company
 had received IWO Child-support Order with a matching court order from his former spouse (Michele
 lv{. Pitnan) requesting that that amount be withheld and there was no*.hing that could be done about it.
 Over the past 7 years, this ACOU Rep would make various child-support deductions from his payroll
 making the same clairn, but would never provide Mr. Simmons with an elecffonic copy of the court
 orders. This arnount would increase in varying amounts to as high as $1,028.68 bi-weekly in July 2016.
 However, in July 2016, due to the Claimant's persistence this ACOU Rep sent the Mr. Simmons a
 number of electronic emails containing a typewritten IWO with his ex-wife's signature having no
 o{ficia! court stamp nor fhe court's presiding judge's stemp and/or signature. Agafut, she continued to
 emphasis via phone calls and messages that the Company had a court order which supported the IWO;
 however she would never firnish the Claimant copy (see 'Wage Garnishment Notices: Log# 359820
 and Log # 529462641).
 Also in June, the Claimant also noticed that his approved regular and overtime hours worked had been
 removed from his payroll and that this had occurred as early as February 2016 for the pay period of
  0111612016 b A!BLl20l6. ln order words, the Claimant was rot being paid proper$ for houss worked
  and taxed for monies never received. At this time, the plaintiffnotified his immediate supervisor, Randy
 Renschen of his payroll problems, iN per 'AT&T's Code of Conduct', who in turn did nothing (see
  attached ernail correspondence). Mr. Renschen lesponse was "As long as your regular hours are not
 being taken you should not have a problern." In addition, in July 2016 for the pay period of 06116/2016
 to 0613012016 the wage deduction increased then again to $1,028.68 bi-weekly, reducing his take-home
 pay to just $527.50 for the pay period of 07 0112016 ta 07 1512016.
 On or about July 20,2016, the Claimant contacted AT&T Payroll, whom informed Randy Renschen and
 the Claimant, in a phone call, that an unauthorized AT&T Employee was accessing the Claimant's
 personal payroll account. That this unauthorized employee was removing the approved regular and
  overtime hours worked which only an A&T Payroll Manager above his level had the authorization to do.
  He also advised Mr. Renschen, as the managing supervisor, to report the matter to AT&T's Asset


                                                                                                  Page 5   of I
                  Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 6 of 12 PageID #:6

Pro Se 7 (Rev. 12i 16) Complaint tbr bmployment Discrimination


                     Protection if he had no know of the person making the changes. Again, Mr. Renschen continued to be
                     unresponsive.
                     However, on or about J:uJry 22,2016, while the Claimant was attempting to re-input his regular and
                     overtime hours worked for that week, Frank Simmons received a message over his corporate laptop that
                     his payroil account was in-use by another. 'l'he message also gave the intrucier's Corporate User lD;
                     which Mr. Simmons screen-printed and then emailed to the intruder, questioning the removal of his
                     regular and overtime hours worked from his payroll account. The intruder responded requesting that he
                     direct his concerns to AT&T Payroll signing-off'Sincerely Ann Barton, AT&T Court Order Unit'. Mr.
                     Simmons immediately responding back via email requesting a copy of the alleged child support court
                     order and questioning why she was deducting hours from his payroll account? Ann Barton then when
                     into iriding! Mr. Simmons received no response back, which prompt him to caii the iiR-Fieip Desk for a
                     Court Order Representative call-back. Another ACOU Rep called him and provided him a copy of the
                     court ordsr which Ms. Barton refused to provide with a copy of the IWO previously received from Ms.
                     Barton.
                     The Court Order appeared to be fraudulent. The Order had a Clerk of the Circuit Court's filing date
                     stamp ofJuly 28,2016, written in Michele Pitman's handwriting with aJune 17, 2016 dale stamp from
                     Judge Trew's desk. ivforeover, these orders clearly did not exist when Ann Barton was making payroli
                     deductions as early as March 2016 form the Plaintiff s payroll. The Plaintiff filed a motion in Circuit
                     Court to detennine the validity of the orders, which was neyer scheduled to be heard.
                     The attached EEOC 'Discrimination Right to Sue' Letter is the first of two EEOC letters. The second
                     EEOC Letter 'Retaliation' and 'Wrongfully Termination' has not been received. ln addition; the Illinois
                     Departrnent of Labor (IDOL) is continuing their investigation into ttris matter; which AT&T has yet to
                             I  f,--^ntan-:-:----i--al--rl1:---:-f,r^----:---             A-1   ---, 1-  1----,:J-t:---,---l-f-----^          l-,--l-:-l-
                     I€tipuilu.  I fie Lv r J rtgvtsturls tll urg llr ututs tvrall ret8tr Atit, fluw taw iliLs Bluut r ultrli iilru a rur rutua wrugil
                     must be adhered to and are applicable in a1l post and future Divorce Decrees. Determining the validity
                     of said court orders will also determine the direction the Plaintiffmust take in pending and future
                     litigations. If orders are not valid, then 'Retaliation' and 'Wrongfully Termination' was an act in
                     'Furtherance' of a Civil Conspirary. If the orders are valid then the Circuit Courts have committed
                     another act of 'Furtherance' as both are cited in the PlaintifPs 2015 motion request for a 'Special
                     D-^^^^..+^-,      ^.-:lI L^f^-^ +L^ r'a^^1, /'1^-...e. /'a..:-.:..^t   ,.\^..+^.    ^:-^^     L-,l^--, +L^ Dl^:..+:M:^    ^,,,^l -^-^l-,
                     r rUDS/r/l,l[LI   )]rlr UErUl9 lrrtr U\r(r^ \-t l.lrrty \,rIlurdl      \-(rLlltJ,   Jillvg.   Uy l4vv trrg t t4xttlll  rD Ul.Yg(I rgrrlgt.ty
                     denied for mmital assets, pension, alimony, back palnnents, and overpayments. If the orders are not
                     valid then AT&T. Therefore, the Plaintiff ask this Court, that whatever remedies and/or decisions
                     resulting in the outcome of these proceedings be made without prejudice considering pending and future
                     court proceeding involving the litigants.



                     Qt{ote: As additional support Jbr the Jitcts oJ'your claim, you may attdch to this complaint a copy oJ'
                     your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
                     relevanl state or city human rights division.)


IV.     Exhaustion of Federal Administrative Remedies

        A.           It is my best recollection that I liled a charge with the Equal Employment Opporhmity Commission or
                     my Equal Employrnent Opportunity counselor regarding the defendant's alleged discriminatory conduct
                     on   (date)



                     September         9,2016

        B.           The Equal Employment Opportunity Commission                            (check one)'.

                              f]             has not issued a Notice of Right to Sue letter.

                              X              issued a Notice of Right to Sue letter, which I received on                        (date)     Mray 16,2011



                                                                                                                                                            Page 6   of   8
                   Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 7 of 12 PageID #:7

Pro Se 7 (Rev. 12116) Complaint tbr.ltmployment lliscrimination



                                           Q,{ote: Attach a copy of the Notice of Right to Sue letterfrom the Equal Employment
                                           Opportunity Commission to this complaint.)


        C.           Only litigants alleging age discriminafion must answer this question.

                     Since frling my charge of age discrimination with the Equal Employment Opportunity Commission
                     regarding the defendant's alleged discriminatory conduct (check one):


                              tr            60 days or more have elapsed.

                              n            less than 60 days have elapsed.


v.      Relief

        State briefly and precisely what damages or other relief the plaintiffasks the court to order. Do not make legal
        argrrments. lnclude any basis for claiming that the wrongs alleged are continuing at the present time. Include the
        arnounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
        or exernplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
        money damages.
         The plaintiffhas not received back-pay by the defendant and was fred by the defendant. AT&T denied the
         plaintiffunemployment benfits. The plaintiffis homeless and has loss all personal belongings, vehicle, good-
         standing credir rating. Tiris has significateiy tramatized the piaintiff financiaily to the exent of being physically
         and mentally fearfirl and insecure working for an employer.

         The plaintiffseeks $500,000.00 in actual home damages; $550,000.00 for future legal fees; $250,000.00 in
         medical and dental fees; back-pay;

        tq,"?       Df,)r   ocD r Dr>       Rr."irtive            havnaeFs
         Direct the defendant to re-employ the plaintitf

         Direct the defendant to promote the plaintiff

         Direct the defendant to furnish an written explainations           as   to the various payroll wage deductions made by &e

         AT&T Court Order U-nit an&br of Ann Barton for the pay perio<is of 12i0612015 thru 07i21i2016 and what
         entity(s) received these wage deductions.

         Direct the defendant to re-establish living residents comproable to that which was lost.


         Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certifo to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for firrttrer investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.




                                                                                                                             Page 7   of   8
                     Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 8 of 12 PageID #:8

llo   Se 7 (Rev. 12116) Complatnt tbr   lrmployment Dscnminatioo




          A.           For Parties Without an Attorney

                       I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                       served. I understand that my lailure to keep a current address on file with the Clerk's Oflice may result
                       in the dismissal of my case.


                        Date of signing:


                       Signature of Plaintifi
                        Printed Name of        Plaintiff Fv^"r b L . S iff fif o i.1.5
          B.            For Attomeys

                        Date of signing:


                        Signature of Attorney
                        Printed Name of Attorney
                        n---tT  ---l--,-
                       .t)AI T\UIilUgI

                       Name of Law Firm
                        Street Address
                        State and       Zip Code
                       Telephone Number
                       E-mail Address




                                                                                                                        Page 8   of I
          Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 9 of 12 PageID #:9




Defendants
llf   inois Bell Telephone Compa ny alkl aAT&T

Randy Renschen

Ann Barton

Cook County Board of lllinois

Michele M. Pitman



Defendant #5

Michele M. Pitman
Associate Cook County Circuit Court Judge
20045 Mohawk Trail
Olympia Fields - Cook
lllinois,60461
               Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 10 of 12 PageID #:10

 EEOC Fonil'161 -B (11118)                          U.S. Ecuat-       EilployuEnr Opponruntw Commtsspr
                                                  Nonce oF RrcHT ro SUE (lssuep                                         oru   Reoursr)
Ta.      Fank t Simmanr                                                                                            From: Ghie.aooOhtrietOfflee
         74W tSot Strcet, #3                                                                                             500 WaEt tladiron 8t
         Chlcago Helghte, lL            6M{{                                                                                  Sulte 2000
                                                                                                                              Chlcago, lL 600Gi




                    6a   hahall   al mmn/cl
                                  v.              mafarryf
                                                  evvlvrvv   rulnnaa iAonliht   iq
                                     Fe,ev..1v,
                    CONFIDENTTAL (29 CFR St 001.7(ar)

 EEOC Chgrge No.                                                    EEOC Rcppeentatirc                                                               Tabphone Ns,

                                                                    Danlel Llm,
 2{8-2015{t2{45                                                     Stato & Local Coordirrctor                                                       (3r2) 889{082
                                                                                                            (see atso the dditbnal infotmation endosed wlfri ttis form')
Honce ro rxe        pERsonr       AccRrEvEo:
Tiflg Vll of the Civil Rights Act of 1984, the Amerlcans rlth Dleabilitisr Act (ADA), or the Goneuc lnformation Nondlccrimination
Act (GINA): This is your Notie of Right lo Sue, issued under T'rtle Vll, the ADA or GINA based on the above-numbered dlarge. lt hat
been issued at your request. Your lawsuit under Title Vll, the ADA or GINA muet be filed in r iederal or st b court lrVlTHF{ 9p.gAY.S
of your raceipi of thle-nodce; or your right to sue based on this charge will be loet. (Ihe time limit for filing suil based on a daim under
state law may be different.)

      E             More than 180 days have paesed since the fiiing of ihis charge.

      n             Less than 180 days have passed since the ltling of this cfrarge, but I heve determined thet it is unlikely that the EEOC will
                    be ableto complete its dministralive processing wtthin 180 days from tha filing of this charge.

      E             The EEOC is terminating its processing of this charge.

      E             The EEOC willcontinue to process this charge.

Age Discriminatl,on in Employmant Act (ADEA): You may sue under tha ADE'A at any lime fom 60 days after the chargo was filed until
gd'Oays afleryou reeive nitici ttrat we have compteteO ac{ion on the charge. ln this rcgard, the paragraph marked belowapp}ieo to
your ca33:
              The EEOC is closing your cas€. Themfore, your larvsuit under the ADEA muct be filed in federal or ctab court MTHIN
              90 DAYS of your recelpt of thle l{odce. Oitrerwlse, your right to sue besed on the above-numbered charge will be lost.

                    The EEOC is anntinuing its haiidiing of youiADEA caae. Howev'er, if S0 days heve passed                                   slne   the fling of the aha'ge,
                    you may file suit in fudenal or state court under the ADEA at lhis time.

Equat Pay Act (EPA): You already have the rigfrt lo sue under the EPA (filing an EEOC cfrarge is hot requircd.) EPA suits must be brought
in iederal-or state courl wilhin 2 years (3 years fur rruilltful violalicns) of the alleged EPA underpayment. This means that backpay due for
any viotatione thet occunsd |npre                   thsnJsaplSrearal                 befors you flle sult may not be collectible.

lf you file suit, based on 'fiis cfarge, please send a copy of your coult compraint tc rJrb                             offe.

                                                                                            On behalf of the Commission



                                                              J ul,itaann et Bov ma,w ( w*)                                                       May 16, 2017
 Eaalacr
    r9rvssrraalc\
            vvtv,                                                                        r--t!---       6^--.---                                       (Data ltaibq
 Er                                                                                     trUllanlllt -   E   (llf l!lltlIt
                                                                                          Dletrict Director

 cc:            Tomlka Woodg
                AT&T
                3l{ S. Akard $t, Floor 7
                Dallas, TX 75202
             Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 11 of 12 PageID #:11
                                                                                    AGENCY                      CTIARGE NUNTBER
           CHARGE OF DISCRIMINATION
Thic form is rffected by the Prlvacy Act of 197{: See Prlvacy act ststement         E] mnn
before completing thir form'                                                                                       2017CF0470
                                       #r7w0g0?.09                                  E   nroc

                                          Illinois Department of lluman Rlghts and EEOC

NAME OF COIIPLAINANT (lndlcate llr. Ilk. rllrs)                                                       TELEPHONE NUilIBER (includc arec code)


lllr. Frank L. Simmons                                                                                 (3t2r9t9-9320
STREET AI}DRESS                                             CITY, STATE AND ZIP CODE                                                 DATE OF BIRTH

                                                                                                                                      M N    VNAD
2520 W. Iladdon Srreet                                     Chicaso. TL 6A622
      Ts THE uIlplove& LABoR oRGANIZATIoN, EMPLoYMf,NT ACENCY, APPR"ENTICESHIP CO}IMITTEf,, STATE OR
xI.ve o
LOCAL COVERNI}IENT ACENCY WHO DISCRIIVIINATED AGAINST IUE (IF IIORE THAN ONE LIST BELOIV)
NAME OF RESPONDENT                                    NUIITBEROF         TELEPHONE NUMBER (lncludc rrer code)
                                                                              EMPLOYEES,
                                                                              ilIEMBERS
Illinois Bell Telephone Company, a/k/a, AT&T                                  l5+                      (800) 2s7-0902
STREET ADDRESS                                             CTTY, ST,I,TE AND ZIPCODE                                                   COUNTY


225 W. Randoloh Street                                    Chicaeo.IL          60602                                                 Cook
CAUSE OT DISCRIIVIINATION BASED ON:                                                                  DATE OF DISCRT|VI INATION
                                                                                                     EARI.IEST (ADEA/EPA) LATEST (ALL)
Race
                                                                                                          aGnarc                   09n0'6
                                                                                                     E    conrluurNcAcrloN
THE PARTICULARSOFTHE CHARCE ARE AS FOLLO}VS:

I.        A.       ISSUEiBASIS

                   UNEQUAL TERMS At{D CONDITIONS OF EMPLOYMENT - JUNE                                                           2016, BECAUSE
                   oF &tY RACE, BLACK

          B.       PRIIIIA FACIE ALLEGATIONS

                    l.        PIy race is bhclc

                   2.         I began my employment rvith Respondent on October 16, 1995. My work
                              performance cs a design engineer in Respondent's construction amd engineering
                              department exceeds Respondent's legitimate expectations.
Pase    I of2
I ulso want thls charge liled with the EEOC. I will advlse rhe
agencles if I change my rddres or telcphonc number and I rvlll                                                      TO BEFORE IVIE
cooperatt fully wlth them ln the processing of my charge ln
accordance with thelr procedurcr.




                                                                                ARY SIGNATURE


                     ^--^.
                                A-ll
                     {fHTJ,rLDE'{L
                                                                                                                                    llq fzatt-
                    DOT.IMMB/Al.lS                                       sffi\iit                                                        .\'fE'
             iCITARY
             ' -rrl     rugUC. STATE OF I.IINOIS
                    CCn rUrSStOt EXPIFES0GOUI8                           t dcslare under penrlty lhot the foregolng fu   ruc    and correct I rwerr or rfflrm
                                                                         thrt I hrre read lhc abovc chrrge lnd lhrt lt   l3   lruc to lhe bert of nry
                                                                         knowledEe, informatlon rnd bellef.
                     NOTARYST,L\IP
  Case: 1:17-cv-05899 Document #: 1 Filed: 08/11/17 Page 12 of 12 PageID #:12
Charge Number: 2017CF0470
Complainnnt: Frank L. Simmons
Prge2 ot?


                J.   Sinee June 2016,  I have been subjected to unequal terms and
                     conditiom of employmext in Respondent's workplace in that:
                     Ann Barton (non-black), of Respondent's Court Order Unit, is
                     deducting motrey from my payroll without my knowledge. Randy
                     Renschen (non-black), Supervisor, is giving nor-black engineers
                     credit for projects that I completed. He told me that I had to
                     complete I ASE projects per month, with 90% accuraey, without
                     any overtime. My cookie cutter projects (easy projects) are being given
                     to non-black engineers to help them reach their quota and I have
                     recently been accused ofusing Respondent's corporate credit card for
                     personal use.

                4.   Similarly situated employees, Jamie Pierce and John Gerwig (non-
                     black), Engfneers, were not subjected to these same terms and
                     conditions of ernployment



il/tfi.Brf lT
